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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


   SANDIE JACKSON,

                         Plaintiff,
   vs.                                                        Case No. 3:18-cv-1024-J-32MCR

   SMARTPAY LEASING, LLC,

                         Defendant.


                                               ORDER

          This case is before the Court on defendant’s motion to dismiss and compel arbitration

   (Doc. 8). Plaintiff filed a response stating that she does not object to being compelled to

   arbitrate, but she requests that the Court stay the case pending arbitration (Doc. 10). The

   Court will grant the motion to the extent that it will compel the parties to arbitrate but, instead

   of dismissing the case, the Court will stay it pending arbitration. See 9 U.S.C. § 3 (permitting

   the Court to stay a suit pending arbitration when the issue involved is arbitrable); see also

   Epic Systems Corp. v. Lewis, 138 S.Ct. 1612, 1622 (2018) (referencing court’s ability to stay

   a suit pending arbitration).

          Accordingly, it is hereby

          ORDERED:

          Defendant’s motion to dismiss and compel arbitration (Doc. 8) is GRANTED to the

   extent that the parties are compelled to arbitrate their claims in accordance with their Lease-

   Purchase Agreement.         The Clerk shall stay and administratively close this file. As

   appropriate, the parties will file papers after the conclusion of arbitration.
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         DONE AND ORDERED at Jacksonville, Florida this 25th day of October, 2018.




   s.
   Copies:

   counsel of record




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